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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )          4:05CR3078
                                        )
                  Plaintiff,            )
                                        )          AMENDED
      vs.                               )          ORDER
                                        )
MILTON JOSEPH, III,                     )
                                        )
                  Defendant.            )

      IT IS ORDERED that Defendant Joseph’s sentencing is continued to Friday,
September 29, 2006, at 12:00 noon, before the undersigned United States District
Judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska. Since this is a criminal case, the
defendant shall be present unless excused by the court.

      August 25, 2006.                      BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
